Case 2:09-cr-00863-SRC    Document 117   Filed 10/07/11     Page 1 of 3 PageID: 888

   Case 2:09-cr-00863-SRC Document 116   Filed 09/26/11   Page 2 of 3 PagelD: 886




    UNITED STATES OF AMERICA          UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY
                 VS
                                       CRIMINAL ACTION
    MARK VENTRICELLI, et al           NO.1 09-863 (SRC)

                                            ORDER



          THIS )TTER having been presented to the Court by Miller,

    Meyerson & Corbo, Esqs. by GERALD 0. MILLER, attorneys for

    Defendant, Mark Vantricel].i and it have been represented to
                                                                 the
    Court that

          Mark Ventricelli who is awaiting sentencing and is under the
    supervision of United States Pretrial Services and that         his
    brother Nicola is getting married in Cancun Mexico on November

    11, 2011 and this Defendant, Mark Ventricelli is “Best Man” at

    said wedding; and seeks permission to travel to Mexico on

   November 10, 2011 and return on November 15,      2011; and The United
   States Attorneys for New Jersey and United States Pretrial
   Services do not object to this trip; and Mark Ventricelli is

   willing to report each day by telephone to the United States

   Pretrial Sevices;     it is on this______ day of________________
   2011
          ORDERED AND DJUDGED that Mark Veatricelli is granted

   permission to travel to Cancun, Mexico on November 10, 2011 and

   to return to New Jersey on November 15, 2011;      it is further
       ORDERED AND ADJUDGED that the United States Pretrial Services

   return Mark Ventricelli’s passport to him and he is to return the
Case 2:09-cr-00863-SRC      Document 117   Filed 10/07/11     Page 2 of 3 PageID: 889

   Case 2:09-cr-00863-SRC   Document 116   Filed 09/26/11   Page 3 of 3 PagelD: 887
    passport to Pretrial Services upon his return from Mexico,



                                                  -

                                     HOSLEYR. CHESLERT O.SD,C.



   t hereby consent to the form
   and entry of the within ORDER


   UnitdatesAttorne
   for



     :3 EPHMACK
    ss tant United States Attorney
                                                                   _____
Case 2:09-cr-00863-SRC                           Document 117           Filed 10/07/11       Page 3 of 3 PageID: 890

  Case 2:09-cr-00863-SRC                                                                Page 1 of 3 PagelD: 885
                                                            COUNSELLORS Ar LAW
                                                     35JOURN.LSQu, SUITE #1105
                                                   JERSEY CITY, NEW JERSEY 07306.6592
                                                       http:11wmmc1awflrmo
    ASRAHAM MILLER(:2?. 974)                                                                         TEL:(201)333.9000
    LEoNAo MEYERSON                                                                                  FAx: (201.333.0918
    GEMw D, MILLER (CERTWSE By T Sus COUET                                                        tt9flYqwc
     OF NEw JERSEY As A CMn4AL Ti*j. ArToREy)
    CAR. M. CoRBO (CEETrFi€D B THE SuE COURT                                                        SUBURBAN OFFICE
     O,NEW JERSEY ASA MATEHOMAL LAW ArrORNEY)                                                     24 LACKAWANNA PLAzA
    NIALAN NAGULENDRAN                                                                            MILLOURN, Nzw JERSEy
                                                                                                   TEL: (973) 376-1770

    SAYIO D. FIGko                                                                             REPLY TO: JERSEY CiTY
    SAcHIN GUPTA                                                                         ENTIuzcE AT 921 BERGEN AvENUE
                                                                        September 26, 2011
    MICHAEL FL HOCHMAN
    (OF COUNSEL)




 via electronicfiling
 Honorable Stanley R. Chesler
 United States District Court
 District of New .Jersey
 Frank R. Lautenberg U.S.P.O.
 and Courthouse- Room 417
 P.O. Box 999
 Newark, New Jersey 07101-0999

                                 RE:            United States vs Michael C. Sciarra, et al
                                                Criminal No.: 09-863 (SRC)
                                                Our Client: Mark Ventriceii
                                                Our File Na.: 32444

  Dear Judge Chesler:

         We represent Mark Ventricelli who is awaiting sentencing and is under the supervision of
  probation. His brother, Nicola is getting married in Cancun, Mexico on November 11, 2011.
  Mark is Best Man and seeks permission to travel to to Mexico on November 10, 2011 and return
  on November 15, 2011. The United States Attorney and Pretrial Services do not object to this
  trip. Mark is willing to report each day by telephone. I am enclosing a proposed Order with the
  consent of Assistant United States Attorney Joseph Mack.


                                                                Respectfully sub
                                                                MILLER,          RSON & CORBO

                                                                B.
                                                                       GERALD D, MILLER, ESQ.
  GDMJgt                                                        E-mail: gçraldmiller@mrnc-law.com
  End.
  cc:  Joseph Mack U.S. Attorney via email: ‘Mack, Joseph (USANJY
       Leslie Richardson via email: Leslie Richardsonnjpt.uscourts.gov
       Mark Ventricelli
